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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
   CONSTELLATION TECHNOLOGIES
   LLC,

                  Plaintiff,                        Civil Action No. 2:13-CV-1080-RSP

          vs.

   WINDSTREAM HOLDINGS, INC.,
   WINDSTREAM CORPORATION, and
   WINDSTREAM COMMUNICATIONS,
   INC.,

                  Defendants.



                         ORDER OF DISMISSAL WITH PREJUDICE

          On this day, Plaintiff and Counterclaim-Defendant Constellation Technologies LLC

   (“Constellation”) and Defendants and Counterclaim-Plaintiffs Windstream Holdings, Inc.,

   Windstream     Corporation,    and    Windstream     Communications,     Inc.   (collectively,

   “Windstream”) announced to the Court that they have resolved Constellation’s claims for

   relief against Windstream asserted in this case and Windstream’s claims, defenses and/or

   counterclaims for relief against Constellation asserted in this case.     Constellation and

   Windstream have therefore requested that the Court dismiss Constellation’s claims for relief

   against Windstream with prejudice and Windstream’s claims, defenses and/or counterclaims

   for relief against Plaintiff with prejudice, and with all attorneys’ fees, costs and expenses

   to be borne by the party incurring same. The Court, having considered this request, is of the

   opinion that their request for dismissal should be granted.

          IT IS THEREFORE ORDERED that Constellation’s claims for relief against

   Windstream are dismissed with prejudice and Windstream’s claims, defenses and/or
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   counterclaims for relief against Constellation are dismissed with prejudice.     IT IS

   FURTHER ORDERED that all attorneys’ fees, costs of court and expenses shall be borne by

   each party incurring the same.
        SIGNED this 3rd day of January, 2012.
       SIGNED this 29th day of January, 2015.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE




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